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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
         Plaintiff/Appellee,
vs.                                                   CASE NO. 21-CR-40/TNM

TRISTAN CHANDLER STEVENS,
          Defendant/Appellant.
_________________________________/

                          NOTICE OF APPEARANCE

      COMES NOW the undersigned attorney, MEGAN SAILLANT, and gives

notice that she will be counsel for the defendant in the above-styled case for purposes

of appeal.

      RESPECTFULLY SUBMITTED this 3rd day of April, 2023.


                                        JOSEPH F. DEBELDER
                                        FEDERAL PUBLIC DEFENDER

                                        s/ Megan Saillant
                                        MEGAN SAILLANT
                                        Assistant Federal Public Defender
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